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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


                                               )
 UNITED STATES OF AMERICA                      )
                                               )
                Plaintiff,                     )   CRIMINAL NO. 14 CR10363
                                               )
 v.                                            )
                                               )
 GENE SVIRSKIY, et al.                         )
                                               )
                Defendants.                    )
                                               )


                 REMAINING DEFENDANTS' TRIAL TIME ESTIMATE

       By order dated August 10, 2018, the Court directed the parties to provide an estimate “of

the amount of time (expressed in hours) needed to present their cases . . . .” (Dkt # 1531). The

remaining defendants (Gene Svirskiy, Christopher Leary, Joseph Evanovsky, Sharon Carter, Alla

Stepanets, Gregory Conigliaro, Kathy Chin, and Michelle Thomas) are making a submission as a

group, and set forth herein collectively the amount of trial time estimated by counsel for the

remaining defendants, exclusive of jury empanelment, opening statements, and closing

statements, but inclusive of cross-examination. Additionally, pursuant to the Court’s Order, each

of the remaining defendants will also submit a sealed ex parte submission that sets forth and

explains in more detail the bases for each defendant’s trial time estimate.

       Based on the information presently available, which includes the government’s witness

list of 76 individuals (but no information on who will actually testify or for how long) and an

expansive but not detailed 404(b) notice, but not the government’s exhibit list (which is due on

the same day as this filing – August 24, 2018), the remaining defendants estimate that it will

require them 112 to 161 hours to defend this case. After receiving and reviewing the
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government’s exhibit list, the remaining defendants intend to designate a lead for each cross-

examination, and to divide responsibilities to avoid repetition, which will likely result in a

shorter time than the estimate provided herein.

                                          *       *        *

 Respectfully submitted,
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 By his attorneys,                                    By his attorneys,


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                                CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic and paper
copies will be sent to those indicated as non-registered participants on August 24, 2018.


                                             /s/ Jeremy M. Sternberg
                                             Jeremy M. Sternberg




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